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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT



__________________________________________
                                          :
POST UNIVERSITY, INC.                     :
                                          :
Plaintiff,                                :
                                          :                   Civil Action No. 3:21-cv-01242-JBA
                                          :
v.                                        :
                                          :
COURSE HERO, INC.                         :
                                          :
Defendant.                                :
__________________________________________:


                   JOINT MOTION TO AMEND SCHEDULING ORDER

       Plaintiff, Post University, Inc. and Defendant, Course Hero, Inc., respectfully move this

Court, pursuant to Fed. R. Civ. P. 6(b) and L.R. 7(b), to amend the Scheduling Order and extend

the deadlines in this action. The Parties state the following in support of this motion:

       1.       On January 18, 2022, the Parties submitted a 26(f) Report of the Parties’ Planning

Meeting proposing a schedule for this action (Dkt. 16).

       2.       On January 20, 2022, the Court entered a Scheduling Order based at least in part

on the Parties’ proposed schedule (Dkt. 17).

       3.       On August 2, 2022, the Court granted a first motion to amend the Scheduling Order

(Dkt. 30).

       4.       On February 2, 2023, the Court granted a second motion to amend the Scheduling

Order (Dkt. 46).
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       5.        On April 19, 2023, the Court granted a third motion to amend the Scheduling Order

(Dkt 54).

       6.        The Parties have been working diligently to meet the current discovery schedule.

However, unforeseen issues have delayed discovery. For example, the parties have been working

to schedule depositions for both Parties. Due to conflicts in the schedules of both attorneys and

witnesses, the Parties have determined that it is not feasible to host the necessary number of

depositions prior to the current deadline of August 23, 2023. The Parties have discussed a one-

month extension to all deadlines in order to provide additional time to complete the depositions.

       7.        The Parties have also been diligently working to provide Plaintiff and its experts

with access to Defendant’s source code; however, the Parties continue to work diligently to resolve

disagreements.

       8.        The Parties submit that good cause exists to amend the Scheduling Order and

extend the deadlines under Fed. R. Civ. P. 6(b) and L.R. 7(b). The deadlines cannot reasonably be

met despite the diligence of the Parties.

       9.        The Parties jointly agree to this motion.

       10.       In view of the above, the Parties respectfully request that this Court amend the

Scheduling Order and extend the deadlines therein as shown in the proposed schedule attached

hereto as Appendix A.



   Respectfully submitted this 6th day of July, 2023.
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PLAINTIFF,                           DEFENDANT,
POST UNIVERSITY, INC.                COURSE HERO, INC.


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                                CERTIFICATE OF SERVICE


        I hereby certify that the foregoing document was filed through the ECF system on the 6th
of July and will be sent electronically to the registered participants identified on the Notice of
Electronic Filing.



                                             /s/ Timothy A. Johnson
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                                           Appendix A
        Activity             Current Due Date         Proposed Due Date                Delta
Fact Depositions             August 23, 2023          September 29, 2023              1 month
Completed

Parties will designate all   September 22, 2023       October 27, 2023                1 month
trial experts (including
damages experts) and
provide opposing counsel
with reports from
retained experts pursuant
to Fed. R. Civ. P.
26(a)(2) (“Opening
expert reports”)

Rebuttal expert reports      October 25, 2023         November 22, 2023               1 month
will be provided

Depositions of experts       Deposition of experts    Deposition of experts           1 month
will be completed            by December 20,          by January 24, 2024
                             2023


All Discovery Completed      December 20, 2023        February 7, 2024               1.5 months

Summary Judgment             January 31, 2024         March 14, 2024                 1.5 months
Motions

Joint Trial Memorandum       If no dispositive        If no dispositive          If no dispositive
                             motions are filed:       motions are filed:         motions are filed:
                             February 15, 2024        March 28, 2024                1.5 month2
                             If dispositive motions   If dispositive motions      If dispositive
                             are filed: 30 days       are filed: 30 days after   motions are filed:
                             after ruling on          ruling on dispositive         no change
                             dispositive motions      motions

Trial Readiness              If no dispositive        If no dispositive           If no dispositive
                             motions are filed:       motions are filed: April   motions are filed: 1
                             March 18, 2024           22, 2024                         month
                             If dispositive motions   If dispositive motions       If dispositive
                             are filed: July 15,      are filed: August 19,      motions are filed: 1
                             2024                     2024                             month
